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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 11-00485 AG (RAOx)                                 Date   December 3, 2018
   Title         LISA M. OSTELLA ET AL. v. ORLY TAITZ ET AL.




   Present: The Honorable       ANDREW J. GUILFORD
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder              Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:       [IN CHAMBERS] ORDER RE MOTIONS FOR
                      RECONSIDERATION

  This case has been with the Court for over a decade. And since its inception, the Court has
  been dealing with an unwieldy amount of filings—so much so that the Court was forced to
  impose a filing restriction on the parties. (See Dkt. No. 227.) But after hearing numerous
  motions and reviewing thousands of pages and documents, the Court thought this dispute
  was over: Lisa Liberi’s claims were dismissed with prejudice following settlement, (Dkt. No.
  685), and Lisa Ostella’s claims were decided by the Court on cross motions for summary
  judgment that the parties stated they preferred rather than a trial, (Dkt. No. 841). But this
  litigation lives to see yet another day as both Ostella and Liberi move for reconsideration of
  the judgments against them. (Dkt. Nos. 848, 849.)

  First, concerning Liberi’s motion for reconsideration, Liberi made clear at oral argument that
  she was actually seeking enforcement of the settlement agreement rather than
  reconsideration of any judgment entered against her. This Court doesn’t have that issue
  properly before it, and therefore DENIES Liberi’s motion for reconsideration. (Dkt. No.
  848.)

  Second, concerning Ostella’s motion for reconsideration, the Court finds Ostella hasn’t
  shown she is entitled to reconsideration. See Fed. R. Civ. P. 59(e); Local Rule 7-18. And, in
  any event, the reconsideration of the Court’s judgment against Ostella would be unavailing.
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  The Court DENIES Ostella’s motion for reconsideration. (Dkt. No. 849.)



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                                                   Preparer




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